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The Honorable Ann M. Donnelly, U.S.D.J.                                                    February 24, 2016
United States District Court
  for the Eastern District of New York
225 Cadman Plaza East, Chambers N415
Brooklyn, NY 11201

         Re:      Eric Sorenson v. Sandra Simpson, 15-cv-4614 (AMD) (SMG)

Dear Judge Donnelly:

         This replies to the February 23, 2016 letter of Lorna B. Goodman (Dkt. 17), counsel for
plaintiff Eric Sorenson, in response to my letter of February 16, 2016 requesting a conference
and permission for defendant Sandra Simpson to file a motion to dismiss under F.R.Civ.P. 12.
Simpson’s letter raises several procedural bases for dismissal but also seeks dismissal for failure
to state claims for relief. Though Sorenson disputes whether Simpson has grounds for a Rule 12
motion, he “agrees it would be useful … to hold a conference ….” Goodman Ltr. 3.

       Plaintiff is an attorney who asserts a claim for breach of a 2009 Contingent Fee
Agreement under which he would receive a contingency fee of 33 1/3 percent of Simpson’s
recovery of damages, if any, based upon the “abduction and confinement” of Simpson and her
then husband Dr. Mostafa Karim by Libya. Plaintiff’s second claim for “unjust enrichment” is
based on the same circumstances. Amend. Compl. pp. 6-8.

        As plaintiff well knew, the only available forum for Simpson’s claims at the time of his
2009 Contingent Fee Agreement was the Foreign Claims Settlement Commission in Washington,
D.C. Plaintiff himself had signed the joint stipulation dismissing Simpson’s Washington, D.C.
lawsuit against Libya with prejudice on November 19, 2008. Simpson v. Socialist People’s
Libyan Arab Jamahiriya, 00-cv-1722 (D.D.C.), Dkt. 107 (Ex. 1 (without exhibits, attached).
Plaintiff had previously entered a contingency fee agreement with Simpson for that litigation
dated May 13, 1999, which provided for a sliding scale contingency fee of 30% on the first
$250,000 of any recovery, with lower percentages of amounts above $250,000. Goodman Ltr.
Ex. 1. Under that first fee agreement, plaintiff was never entitled to any attorney’s fees for work
done in that case because it was voluntarily dismissed with prejudice without any monetary
recovery from defendant Libya.1

        Plaintiff’s 2009 Contingency Fee Agreement, on which he seeks to base his claims in this
case, is void, unenforceable, and a criminal offense under 22 U.S.C. 1623(f). It provides that any
agreement for attorney’s fees in excess of 10% of any recovery before the Claims Commission



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  Simpson filed that suit against Libya pro se. For unexplained reasons, plaintiff did not enter his appearance in the
case for more than a year after it was filed. Simpson v. Socialist People’s Libyan Arab Jamahiriya, 00-cv-1722
(D.D.C.), Dkt. 22.

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“shall be unlawful and void …,” as well as a federal crime.2 Simpson was not required to
articulate to Sorenson her reason for terminating his services. The illegality of Sorenson’s
retainer agreement is an ample and sufficient basis for termination as a matter of law, wholly
apart from her other reasons, which would require proof outside the complaint and would
probably be disputed.

         Plaintiff’s contention that he can recover for all of the legal work he claims to have
performed going back to 1999 under the guise of the 2009 Contingent Fee Agreement is baseless.
First, that Agreement is entirely void and unenforceable under 22 U.S.C. 1623(f), as explained in
my initial letter. Second, plaintiff’s reliance upon language providing for “a reasonable fee” if
he is terminated “before a judgment or settlement” is part of the wholly invalid 2009 Agreement.
Daniel Ltr. Ex. 1. This language cannot support the contention that plaintiff can recover fees for
work on the D.C. case going back to 1999. The 2009 Agreement was an engagement (albeit an
illegal one) for future services in pursuing claims before the Claims Commission. Thus, at most,
that language might have covered “reasonable fees” (but for the illegal agreement) for work done
on the Claims Commission cases, only one of which obtained an award.3 Third, any claim for
fees for work done on the D.C. case between 1999 and the May 2009 Fee Agreement is barred
by limitations. New York (6 years); Pennsylvania (4 years); District of Columbia (3 years).

       Sorenson’s opposing letter makes a nonsensical argument regarding his claim and the
2009 Fee Agreement. He contends he does not seek to recover any fees for work on Simpson’s
Claims Commission cases, only for work done from 1999-May 2009 on the D.C. case. But the
contract language he relies upon contradicts that. He was not terminated with or without cause
for work done on the D.C. court case; Sorenson himself signed the stipulation of dismissal with
prejudice with no recovery for Simpson at all. Neither the express language nor any conceivable
implication can support Sorenson’s interpretation.

        Sorenson’s contention is also contradicted by the fact that he is also pursuing a charging
lien and other claims against Winston & Strawn for a portion of its 10% attorney’s fees for
Sorenson’s alleged work on Simpson’s Claims Commission cases. Simpson v. Winston &
Strawn, Index No. 158124/2015, filed Aug. 6, 2015 (S.Ct. N.Y. Co.). In sum, Sorenson seeks to
recover more than $500,000 from Simpson in the case before Your Honor and more than

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  Sorenson’s reliance upon the Pan Am Flight 73 case to support his contention that 22 U.S.C. 1623(f) does not
invalidate his Fee Agreement is baseless. That case involved a dispute among claimants and did not involve Section
1623(f) or an attorney’s fee dispute at all. The sole issue in that case was whether an arbitration clause in the
claimants’ agreement obligated them to arbitrate their dispute under the Federal Arbitration Act, 9 U.S.C. 1 et seq.
The district court held they were, denied a preliminary injunction and refused to stay arbitration pending appeal.
Pan Am Flight 73 Liaison Group v. Davé, 711 F.Supp.2d 13 (D.D.C. 2010). The D.C. Circuit affirmed, solely on
the basis that the arbitration agreement was valid and federal law required arbitration. Pan Am Flight 73 Liaison
Group v. Davé, 639 F.3d 1102 (D.C. Cir. 2011). Neither court addressed the underlying contractual dispute, which
they held was for the arbitrator to decide.
3
   Libya was not a party in Simpson’s case before the Claims Commission. Unlike court litigation, “the adjudication
of a [Commission] claim is non-adversarial, and the Commission’s staff endeavors to assist each claimant in
establishing a compensable claim ....” Claims Commission 2014 Annual Report 11, available at
http://www.justice.gov/fcsc/file/452426/download.

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